WU Case: 1:24-cv-11533 Document #: 1 Filed: 11/08/24 Page 1 of 2 PagelD #:1

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f ) United States District Court
STELLA Crepe CK ) Northern District of Illinois
Plaintiff )
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¢ Culbe“r 70 Cb be ) THOMAS G. BRUTON
§ mchelle COMPLAINT CLERK. US. DISTRICT COURT

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1:24-cv-11533
Judge LaShonda A. Hunt

Magistrate Judge Jeffrey Cole
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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
Case: 1:24-cv-11533 Document #: 1 Filed: 11/08/24 Page 2 of 2 PagelD #:2

COMPLAINT AGAINST:

JOHNSON JONES SNELLING & GILBERT P.C. FU 4 / Teed Agent

325 N LA SALLE DR STE 350
CHICAGO , IL 60654

Lillian Maas 7 7 Asch: Dihect 2 F VELA fio

551 W. Elm St 3
Chicago, IL. 60610 Led sing Aqeat—

In October, about October 1*', 2024 |, Sterling Sawyer, applied for a studio
apartment with the Holsten Real Estate Development Company at 551 W. Elm
St. Chicago, IL. 60610. | spoke with Lillian Williams and Michelle. Both women
asked me for my consent to reach out to a previous landlord at 4259 S. King
drive Chicago, IL. | said no. | specifically said “I do not give you permission to
contact them.”

Despite my specific instructions not to contact them they did so anyway, and also
contacted previous neighbors of mine at 4259 S. King Dr. Michelle, admitted she
knows one of my neighbors at my old address, that also knows me. | did not give
them permission to contact these third parties, nor did | give my consent for them
to disclose any personal information to those third parties about me submitting an
application for a apartment at 551 W. Elm St. | feel like my expectation of privacy
was broken, and that Lillan Williams, and Michelle invaded my privacy, and
disclosed personal information about me to third parties without my authorization.
In addition, | feel like | was discriminated against because | am a male. The
customer service during the application process was horrible, It was obvious they
made the compliance process more difficult for me because | am a male, they
used back and forth tactics to give me a hard time, by having me come back to
their office again and again, blatantly and obviously lying about the documents |
submitted, so | would have to come back again and again, just for them to
inevitably deny me the apartment anyway. | would like disciplinary action taken
against Lillian Williams and Michelle, and | will be seeking compensatory
damages in the amount of $300,000 for one (1) count of discrimination based on my

gender as a male. Second (2nd) count invasion of privacy. Third (3) count Disclosing
personal information to third parties without my consent.

If you would like to settle these issues amicably | would be open for discussion.
Sterling Sawyer

312. 579-8418
Cheddashoecompany@ gmail.com
